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UNITED STATES DISTRICT COURT CL £F};H%*§"§`l`ii L.;QUI_D
WESTERN DISTRICT OF TENNESSEE iy;»l\ di .:"‘ j;§CS}Ul"-il

 

THOMAS M. GOULD, CLERK
167 North Main Street
Suite 242
Memphis, TN 38103
901-495-1200

August 22, 2005
Ms. Marie J ones
2847 Flora Ave.
Memphis, Tn 38114
RE: MARIA OLLIE

Our records indicate that you have requested a refund of the cash appearance bond posted
in case number 04-20326-B. We will not be able to issue the refund at this time because:

__The defendant has not fully complied with the requirements of said bond and orders of this
Court. (Defendant has not been sentenced; set for October 27, 2005)

QYours is not the name of the payee on the reeeipt.

Please feel free to contact our office with any questions regarding this matter at the address
or phone number listed above.

Thomas M. Gould,
Clerk of Court

BY: `z@/

Deputy C]erk

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20326 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

